                     IN. THE UNITED STATES DISTRICT COURT
                 FOR THE EASTER.N DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVIS.ION
                             NO . . 7 : 18 - CR - 0 0 0 3 9 - D- 1

    UNITED STATES OF AMERICA

               v.

    TERRANCE LEON WASHINGTON

                                     ORDER OF FORFEITURE

         WHEREAS,· pursuant. to the. entry of a plea of guilty by the

·o.efericiant, Terrance Leon Washington; on August 7, 2018, to offenses

    in violation of• 18 u.s.c.           §   .841 (a) (1), and having .considered the

    record as a whole and the applicable law, the Court finds that the

    United States is now entitled to the forfeiture of $1~200.00; whibh
.                        ._              .                ..
    represents procieeds the defendant personally obtained as a result

    of the said offenses;             and that due to the defendant's acts or

    omissions this prope·rty is not currently in the possession of nor

    are its whereabouts known to the government.

         NOW, THEREFORE I       .   it is ORDERED, ADJUDGED and DECREED :

         1.    That pursuant to 21 U. S; C.          §    853 (a) , the. defendant· shall·

    for·feit $i, 200.   oo    to the united,States as property constituting or
                                                      .                    .


    derived from proceeds obtained, directly or indirectly, as                  a   result·

    of the said tiffenses.




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           2.         That pursuant to 21 u.s.c.                  § 853(p), the United States

 is entitled to forfeit substitute assets                                 iip    to the value· of the

gross proceeds obtained by the defendant,. that is $1,200.00.

           3.         That. pursuant to Rule . 32. 2 (e) ·Of the Federal Rules of

Criminal Procedure,· the United States may move to amend this Order;

at any time to substitute specific property to satisfy this Order

of Forfeiture in whole or in part.

           4 ..       That any· and all forfeited fun'ds shall be deposited by

the        U.S.       Department of             Justice       or the U. s.        Department of         the

Treasury, as soon as located or recovered, .into the U. s. Department

of Justice's Assets Forfeiture Fund or the U.S. Department of the
                                                                      \

Treasury's. Assets Forfeiture Fund in accordance with 28 u.s.c.

 §   5 2 4 ( c) and 21 U. S . C .           §   8 81 ( e) .

           5.         · That upon. sentencing
                            '          '.
                                        '
                                              and issuance of the . Judgment and

· Comni.:Ltment Order, the Clerk of.:court is DIRECTED to incorporate                                     a
     L .     .    .             .   .
reference to this 0:t'.der of Fortei tµre in the applicable se·ction of

the Judgment, as required by Fed. R. Crim.                                  P.    32 . .2(b) (4) (B).    In
.                                                        .                           . .     .
·accordance with Fed. R: Crirri.. P~ 32.2(b)(4) (A),··this Order shall

be final as to the defendant at sentencing,

           SO ORDERED, this                 fq      day of.      Oc+ok ,                   20fi0.



                                                JAMils • C., DEVER III·
                                                United States District Judge




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